AO 91 (Rev. 12/03) Criminal Complaint 8/07

Case 2:08-m]-O016/7-GGH Document1 Filed 05/06/08 Page T of 22

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF Fl

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CLERK, Us
UNITED STATES OF AMERICA FASTERN DISTRIGY GEG OUR
ANIA
Vv. a
DONALD MOORE CRIMINAL COMPLAINT

CASE NUMBER:

208-M-0167 Gi

(Name and Address of Defendant)

I, the undersigned complainant state that the following is true and
correct to the best of my knowledge and belief. On or about 2-29-08 and 3-5-
O08 in San Joaquin County, in the Eastern District of California defendant (s)
Aid, (track Statutory Language of offense}

> Knowingly and Intentionally conspire to distribute and knowingly and Intentionally
distributed 3,4-methylenedioxy-methamphetamine (MDMA), 5-methoxy-
N,Ndiisopropyltryptamine, and ketamine

in violation of Title 21, United States Code, Section(s) 84i(a)(I)and846. 1
further state that I am a(n) DEA Special Agent and that this complaint is
based on the following facts:

> See Attached Affidavit

Continued on the attached sheet and made Cree of SE oe xX
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Signature of cothpiatfant Brittany Zlesman-—

Hicks
DEA
Sworn to before me, and signed in my presence
May 2, 2008 at Sacramento, CA
Date City State

Gregory G. Hollows
U.S. Magistrate Judge

GREGORYG. HOLLOWS

Name of Judge Title of Judge Signature of Judicial Judge
Case 2:08-mj-00167-GGH Document1 Filed 05/06/08 Page 2 of 22

Affidavit of Brittany E. Ziesman-Hicks in Support of Search Warrants, Criminal
Complaints, and Arrest Warrants

I, Brittany Ziesman-Hicks, being duly sworn on oath, depose and say:

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BACKGROUND AND EXPERTISE

I am a Special Agent of the Drug Enforcement Administration (DEA), San Francisco Field
Division, and have been so employed since 2004. Prior to being employed with DEA, I
attended Sam Houston State University and received a Bachelor of Science Degree in
Criminal Justice. In 2003, upon graduating from Sam Houston State University, I attended
the Federal Law Enforcement Training Center in Artesia, New Mexico. After successfully
graduating from the Federal Law Enforcement Training Center, I attended the James J.
Rowley Secret Service training academy and graduated as a Uniformed Division Secret
Service officer. In 2005, I graduated from the DEA Basic Agent’s Academy at the FBI
Academy at Quantico, Virginia. I have been assigned to the Sacramento Division Office
since June 2005.

I have received formal training in narcotic investigation matters including, but not limited to,
drug interdiction, drug detection, money laundering techniques, drug identification, and asset
identification from the Drug Enforcement Administration (DEA) academy. In addition, I
completed a course entitled: “Drug Use and Abuse” in 2001. I have also spoken at length to
more experienced DEA special agents, task force officers, other law enforcement officers,
and persons involved in the trafficking of narcotics.

The facts set forth in this affidavit are known to me as a result of my personal participation in
this investigation, through conversations with other agents and detectives who have
participated in this investigation, and from reviewing official reports, documents, and other
evidence obtained as a result of this investigation. The following is not an exhaustive
enumeration of the facts that I have learned during the course of this investigation but are the
facts which I believe support a finding of probable cause for the complaints, arrest warrants,
and search warrants requested.

Scope of Requested Arrest Warrants, Search Warrants and Criminal Complaints

4, Based upon the information described in this Affidavit, your affiant respectfully
requests that this Court issue criminal complaints and arrest warrants for the following
individuals:

Shatoya AUSTIN for conspiracy to distribute and the distribution of at least 5 grams
of cocaine base on or about January 15, 2008 and January 30,-2008, in violation of
21 U.S.C. § 841(a)(1} and 846; and for conspiracy to distribute and the distribution
of 3,4-methylenedioxy-methamphetamine (MDMA otherwise known as Ecstasy), 5-
methoxy-N,Ndiisopropyltryptamine, and ketamine, on or about February 29, 2008 in
violation of 21 U.S.C. § 841(a)(1) and 846.
Case 2:08-mj-00167-GGH Document 1 Filed 05/06/08 Page 3 of 22

Ralph DIXON for conspiracy to distribute and the distribution of at least 5 grams of
cocaine base on or about January 15, 2008, January 30, 2008, and March 7, 2008, in
violation of 21 U.S.C. § 841(a)(1) and 846.

Donald MOORE for conspiracy to distribute and the distribution of 3,4-
methylenediox y-methamphetamine (MDMA otherwise known as Ecstasy), 5-
methoxy-N,Ndiisopropyltryptamine, and ketamine, on or about February 29, 2008,
and March 5, 2008, in violation of 21 U.S.C. § 841(a}(1) and 846.

Rafael Vasquez-GALVAN for conspiracy to distribute and the distribution of at
least 5 grams of cocaine base on or about May 2, 2008, in-violation of 21 U.S.C. §
841(a)(1) and 846.

5. Based upon the information described below, this Affidavit also requests authority to
search for evidence of a crime, contraband, fruits of a crime, and other items illegally
possessed, property designed for use, intended for use, or used in committing a crime,
specifically, Ralph DIXON’s distribution of cocaine base and conspiracy to distribute
cocaine base in violation of 21 U.S.C. § 841(a)(1) and 846 located at 1025 Rosemarie
Ln. #17, Stockton, California, one silver-colored 2000 Chevrolet Cavalier, CA
license #4KAX727; one yellow 1970 Mercury Cougar, CA license plate #
2MXE629, all further described in Attachment A-1, attached hereto and incorporated
by reference herein.

6. Based upon the information described below, this Affidavit also requests authority to
search for evidence of a crime, contraband, fruits of a crime, and other items illegally
possessed, property designed for use, intended for use, or used in committing a crime,
specifically, Donald MOORE’s distribution of 3,4-methylenedioxy-
methamphetamine (MDMA otherwise known as Ecstasy), 5-methoxy-
N,Ndiisopropyltryptamine, and ketamine, in violation of 21 U.S.C. § 841(a)(1) and
846 located at 9429 Westmora Ct., Stockton, California, one silver-colored 1998
Lexus, CA license #5UPB377; and one silver 2000 Ford Taurus, CA license
#4GVT728, all further described in Attachment A-2, attached hereto and
incorporated by reference herein.

7. Therefore, this Affidavit requests permission to search all the properties and persons
set forth in Attachments A-1 and A-2 to this Affidavit and seize the items listed and
incorporated in Attachment B to this Affidavit.

Use of DEA Confidential Source

8. In December 2007, law enforcement officers used the services of a DEA Confidential
Source, hereafter referred to as a CS, in this investigation. On June 30, 2006, the CS
was arrested for violation of Title 21 U.S.C. § 841 (a)(1) ~ Distribution of a Controlled
Substance (methamphetamine). The CS pled guilty in the Eastern District of
California to the above listed offense and cooperated with law enforcement for
consideration on his/her pending sentence. A check of the CS’s criminal history
revealed that the only offense listed is the above mentioned offense. The CS is
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Case 2:08-mj-00167-GGH Document 1 Filed 05/06/08 Page 4 of 22

currently out of custody and is assisting law enforcement in this and other criminal
investigations. The disposition of the above listed offense is currently pending.

To the best of my knowledge, the information provided by the CS about drug
trafficking activities related to this investigation have been truthful, accurate, and
corroborated through the investigation.

January 15,2008 — Purchase of cocaine base from AUSTIN and DIXON

On January 15, 2008, SPD Officer Fritts and SPD Officer Mamaril met with the CS in
anticipation of making a controlled purchase of cocaine base from AUSTIN in
Stockton, California. Prior to the transaction, the CS and his/her vehicle were searched
for narcotics and contraband with negative results. The CS was given a predetermined
amount of U.S. currency and an audio monitoring devise which allowed SPD Officers
to record the subsequent conversation and transaction with AUSTIN and DIXON, who
was subsequently identified as the source of supply for the cocaine base.

At approximately 11:58 A.M., the CS contacted AUSTIN via cell phone in an attempt
to purchase a sample of cocaine base from AUSTIN. During the phone call, the CS
asked AUSTIN if she was going to be able to “hook up” with the CS today. AUSTIN
informed the CS that she would be able to meet and informed the CS to call AUSTIN
when the CS was in town.

At approximately 12:15 P.M., the CS contacted AUSTIN via cell phone and AUSTIN
informed the CS that she was not dressed and instructed the CS to come to AUSTIN’s
house. AUSTIN proceeded to give the CS directions to her residence on Brush Creek
Dr., Stockton, CA.

At approximately 12:17 P.M., SPD Officer Fritts and SPD Officer Mamaril followed —

‘the CS to AUSTIN’s residence on Brush Creek Dr., Stockton, CA. Once the CS

arrived near Brush Creek Dr., the CS placed a phone call to AUSTIN in an attempt to
obtain further directions. During the conversation, AUSTIN advised the CS that
he/she had just passed AUSTIN’s residence. AUSTIN informed the CS that she was
going to call her guy, advising that he was right around the corner.

At approximately 12:22 P.M., SPD Officer Cole observed the CS park directly in front
of a duplex located at 5755 and 5757 Brush Creek Dr., Stockton, CA. SPD Officer
Cole observed a black female, subsequently identified as AUSTIN, standing in the
driveway of the residence. Upon the CS parking his/her vehicle, AUSTIN got into the
front passenger seat of the CS’s vehicle.

At approximately 12:46 P.M., a silver-colored 2007 Chevy Monte Carlo, CA license #
5WCEO017, registered to Danielle HARRELL, parked directly behind the CS’s vehicle.
A black male from the front passenger seat, exited the vehicle, walked over to the CS’s
vehicle, and sat in the rear passenger seat of the CS’s vehicle. The CS, AUSTIN, and
the black male, subsequently identified as Ralph DIXON, began talking. Over the
wire, the CS could be heard questioning the price, which AUSTIN advised was $325.
The CS was also heard counting out the money. Approximately three minutes later,
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Case 2:08-mj-00167-GGH Document 1 Filed 05/06/08 Page 5 of 22

AUSTIN and DIXON exited the CS’s vehicle and the CS drove away followed by
SPD Officer Mamaril and SPD Officer Fritts.

At this time, SPD Officer Mamaril and SPD Officer Fritts followed the CS as to the
transaction. The CS turned over a clear plastic baggie containing a white substance
suspected to be cocaine base and $75. SPD Officer Mamaril and SPD Officer Fritts
again searched the CS and the CS’s vehicle for contraband and/or money with
negative results.

During the debriefing, the CS stated that he/she arrived at AUSTIN’s residence and
called AUSTIN. The CS stated that he/she asked AUSTIN to sit in the CS’s vehicle
while they waited for AUSTIN’s guy to come over with the cocaine base. The CS
stated that once AUSTIN’s guy arrived, DIXON got out of the silver car and got into
the back seat of the CS’s vehicle. The CS stated that DIXON handed AUSTIN a
plastic bindle/baggie. AUSTIN in tur gave the CS the baggie of cocaine base. The
CS stated that he/she counted the money and gave it to AUSTIN.

The DEA Western Regional Lab (WRL) later tested the substance purchased from
AUSTIN and DIXON on January 15, 2008. The WRL analysis indicated that the
substance purchased from AUSTIN and DIXON was cocaine base, 46.4% purity, with
the amount of actual (pure) drug weighing 6.2 grams.

January 30, 2008 — Purchase of cocaine base from AUSTIN and DIXON

On January 30, 2008, SPD Officer Fritts and I met with the CS in anticipation of
making a controlled purchase of cocaine base from AUSTIN in Stockton, California.
Prior to the transaction, the CS and his/her vehicle were searched for narcotics and
contraband with negative results. The CS was given a predetermined amount of U.S.
currency and was given a transmitter/recorder which allowed agents to record the
subsequent conversation and transaction with AUSTIN.

The CS contacted AUSTIN at 702-917-8662 to arrange the purchase of approximately
two ounces of cocaine base. In a series of recorded phone calls, the CS informed
AUSTIN that he/she wanted to get “two zips of cream” and asked AUSTIN if she was
“ready.” AUSTIN acknowledged and told the CS that she had to call “dude” and have
“him” bring it to AUSTIN.

Shortly thereafter, the CS received an incoming call from AUSTIN at 209-817-7900.
AUSTIN asked the CS if he/she could pick AUSTIN up and they could go and meet
“him,” meaning the source of supply. AUSTIN also informed the CS to call when
once the CS arrived. .

At approximately 12:37 P.M., SA Taylor observed a silver Chevrolet vehicle,
subsequently identified as a 2000 Chevrolet Cavalier, CA license #4KAX727, arrive in
the driveway of 5757 Brush Creek Dr., Stockton, CA. The driver, subsequently
identified as DIXON, was the only occupant of the vehicle. The driver exited the
vehicle and walked towards the front door area of 5757 Brush Creek Dr.
Approximately one minute later, SA Taylor observed an individual matching the
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' Case 2:08-mj-00167-GGH Document1 Filed 05/06/08 Page 6 of 22

physical description of DIXON, walk from the front door area of 5757 Brush Creek
Dr., get back into the vehicle, and drive away.

SPD Officer Mercado followed the vehicle and obtained the CA license number of
#4KAX727. SPD Officer Mercado observed the driver of the vehicle. SPD Officer
Fritts subsequently showed SPD Officer Mercado a color photograph of DIXON. SPD
Officer Mercado advised that the subject driving the 2000 Chevrolet Cavalier, CA
license #4K AX727, was wearing a hat and sun glasses; however, despite the sun
glasses and hat, SPD Officer Mercado believed the subject driving the vehicle was
DIXON.

At approximately 12:45 P.M., the CS arrived and parked in front of AUSTIN’s
residence. Upon arriving, the CS placed another phone call to AUSTIN and informed
AUSTIN that he/she was parked out front. Shortly thereafter, SA Taylor observed a
subject, subsequently identified by the CS as AUSTIN, walk from the front door area
of 5757 Brush Creek Dr., Stockton, CA and make contact at the passenger side of the
CS’s vehicle. AUSTIN then sat in the front passenger seat of the CS's vehicle.

SPD Officer Fritts and I monitored the transmitter/recorder and heard the CS talking
with AUSTIN. SPD Officer Fritts heard the CS inform AUSTIN that they (AUSTIN
and the CS) could just wait where they were for AUSTIN’s “guy” to arrive. AUSTIN
informed the CS that there was no need because she (AUSTIN) already had the two
ounces. While listening to the wire, SPD Officer Fritts could hear the CS and
AUSTIN discuss the quality of the cocaine base and discuss future transactions of
ecstasy.

At approximately 12:49 P.M., SA Taylor observed the front passenger door open and
observed AUSTIN exit the CS’s vehicle. The CS departed the residence and AUSTIN
was observed walking towards the front door area of 5757 Brush Creek Dr., Stockton,
CA.

At this time, SPD Fritts and I followed the CS out of the area and debriefed the CS.
The CS turned over a clear plastic baggie containing an off-white substance suspected
to be cocaine base. SPD Fritts and I again searched the CS and the CS’s vehicle for
contraband and/or money with negative results.

During the debriefing, the CS stated that he/she arrived at AUSTIN’s residence and
AUSTIN walked out of her residence. The CS stated that AUSTIN got into the CS’s
vehicle. AUSTIN then reached into her pocket and informed the CS that “it” was 56
grams. The CS stated that he/she then gave AUSTIN $1300 and AUSTIN counted the
money.

The CS then asked AUSTIN about ecstasy pills. AUSTIN informed the CS that she
could get the CS a boat (1000 pills) for $3.00 a pill.

Subsequent to the deal, SPD Officer Fritts completed a records check and found that
on December 13, 2007, Ralph DIXON was cited for speeding while driving the listed
2000 Chevrolet Cavalier, CA license #4KAX727. A records check also showed that
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Case 2:08-mj-00167-GGH Document1 Filed 05/06/08 Page 7 of 22

the vehicle is registered to Rachel Pearl STALLWORTH, 1025 Rosemarie Lane #17,
Stockton, CA.

SPD Officer Cole and SPD Officer Fritts then drove by 1025 Rosemarie Lane,
Stockton, CA. SPD Officer Fritts observed a yellow 1970 Mercury Cougar, CA
license plate # 2MXE629, parked in a stall near the building. SPD Officer Fritts

completed a record check on the vehicle and found the vehicle is registered to Dwayne
Ralph DIXON.

On January 31, 2008, SPD Officer Mamaril and SPD Officer Fritts drove to 1025
Rosemarie Lane, Stockton, CA. SPD Officer Mamaril and SPD Officer Fritts drove to
the back of the complex. The 2000 Chevy Cavalier, CA license #44KAKX727, which
was seen departing AUSTIN’s residence the previous day prior to the deal, was parked
near the building.

The DEA Western Regional Lab (WRL) later tested the substance purchased from
AUSTIN on January 30, 2008. The WRL analysis indicated that the substance
purchased from AUSTIN was cocaine base, 50.5% purity, with the amount of actual
(pure) drug weighing 23.9 grams.

February 19, 2008 - Attempted Purchase of Ecstasy from AUSTIN

On February 19, 2008, SPD Officer Fritts and I met with the CS in anticipation of
making a controlled purchase of 1000 ecstasy pills from AUSTIN in Stockton,
California.

At approximately 1:15 P.M., the CS contacted AUSTIN at 702-917-8662 in an attempt
to purchase 1000 ecstasy pilis from AUSTIN. The CS asked AUSTIN if AUSTIN
would be able to “hook that up” for the CS. AUSTIN informed the CS that she would
call her guy and call the CS back.

At approximately 1:21 P.M., the CS received an incoming telephone call from
AUSTIN. The CS questioned AUSTIN on the price of the ecstasy pills to confirm that
he/she would still be able to purchase a boot (1000 pills} for $3 a pill. AUSTIN
informed the CS that it would be $4 a pill. The CS reminded AUSTIN that during
prior conversations, AUSTIN quoted the CS $3 a pill. AUSTIN informed the CS that
she gets 1000 pills for $3 a pill, but that was her price.

At approximately 1:28 P.M., the CS received an incoming telephone call from
AUSTIN. During this phone conversation, the CS informed AUSTIN that the CS had
$3,000. The CS asked AUSTIN if her guy would “front” the rest. AUSTIN informed
the CS that she did not think her guy would “front” that much. AUSTIN stated that
she would call her guy and ask. Approximately seven minutes later, the CS contacted
AUSTIN. AUSTIN informed the CS to call AUSTIN’s “guy” and discuss the
purchase with him. AUSTIN then gave the CS a phone number of 209-594-3424.
AUSTIN informed the CS that her guy's name was “Moe,” who was subsequently
identified as Donald MOORE. AUSTIN then informed the CS that she would give the
CS the number to her "cream" (cocaine base) source. AUSTIN gave the CS phone
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Case 2:08-mj-00167-GGH Document 1 Filed 05/06/08 Page 8 of 22

number 209-423-7157. AUSTIN stated that her “cream” source's name was “Ralph,”
who was identified as Ralph DIXON.

At approximately 1:44 P.M., the CS placed a recorded phone cail to MOORE at phone
number 209-594-3424. After a few rings, a male voice answered the phone. The CS
talked with the subject and asked if his name was “Moe." The subject acknowledged.

. The CS discussed with MOORE purchasing 1,000 ecstasy pills for $3,000. MOORE

informed the CS that he was only able to get a piece of what the CS wanted to
purchase. The CS and MOORE talked about prices and the CS reminded MOORE
that AUSTIN had originally quoted the CS $3,000 for a full boat (1000 pills).
MOORE informed the CS that he has to sell a full one (boat) for $4,000 to make any
money. The CS advised MOORE that the CS would call him later when the CS
obtained another $1,000 for the full boat of ecstasy pills.

February 29, 2008 — Purchase of Ecstasy from AUSTIN and MOORE

On February 29, 2008, SPD Officer Fritts and I met with the CS in anticipation of
making a controlled purchase of 1000 ecstasy pills from AUSTIN and MOORE in
Stockton, California. Prior to the transaction, the CS and his/her vehicle were searched
for narcotics and contraband with negative results. The CS was given a predetermined
amount of U.S. currency and transmitter/recorder which allowed agents to record the
subsequent conversation and transaction with AUSTIN and MOORE.

At approximately 6:17 P.M., the CS made an outgoing call to MOORE at 209-594-
3424. The CS reached MOORE’s voice mail and left a message stating that he/she
had been waiting and that he/she was trying to “hook up” with him (MOORE).
Approximately two minutes later, AUSTIN contacted the CS from AUSTIN’s cellular
telephone 702-917-8662. AUSTIN informed the CS that MOORE was over by
AUSTIN’s house near the mall. AUSTIN informed the CS that he/she could come
over to AUSTIN’s house, pick AUSTIN up, and then MOORE could drop AUSTIN
off after the deal was complete. .

At approximately 6:49 P.M., the CS contacted AUSTIN at 702-917-8662. The CS
asked AUSTIN if MOORE was ready yet. AUSTIN stated that he was not.

Approximately three minutes later, AUSTIN contacted the CS from AUSTIN’s
cellular telephone 702-917-8662. AUSTIN informed the CS that she just spoke with
MOORE. AUSTIN informed the CS that MOORE wanted the CS to come to
AUSTIN’s house, pick up AUSTIN, and then AUSTIN could bring the CS to
MOORE’s house in order to do the deal.

At approximately 7:16 P.M., the CS contacted AUSTIN at 702-917-8662. The CS
asked AUSTIN if it was a bad neighborhood where they would be going to, meaning
where they were going to meet MOORE. The CS then asked AUSTIN if there was a
store close by MOORE’s house where they could do the deal. AUSTIN informed the
CS that she would ask if they could meet at the t-shirt outlet.
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Case 2:08-mj-00167-GGH Document 1 Filed 05/06/08 Page 9 of 22

At approximately 7:18 P.M., SPD Officer Fritts and I followed the CS from a neutral
location to AUSTIN’s residence, 5757 Brush Creek Dr., Stockton, CA. Once the CS
arrived at AUSTIN’s residence, the CS called AUSTIN to inform AUSTIN that the CS
had arrived at AUSTIN’s residence.

At approximately 7:28 p.m., the CS and AUSTIN proceeded to drive away from
AUSTIN’s residence with AUSTIN in the front passenger seat of the CS’s vehicle
followed by surveillance units.

At approximately 7:42 P.M., the CS and AUSTIN arrived in the-parking lot of a strip
mall located at the north/east commer of West Lane and Hammer Lane, Stockton, CA.
The CS subsequently parked in a stall near the T-shirt Outlet and SPD Officer Fritts
and I continued to monitor the CS and AUSTIN.

At approximately 7:44 P.M., SPD Officer Fritts observed a silver 1998 Lexus, CA
license #5UPB377, drive through the parking lot. The vehicle then parked im a stall
near the CS’s vehicle, As the Lexus arrived, AUSTIN exited the CS’s vehicle, walked
over to the front passenger door of the Lexus, and sat inside. Moments later, AUSTIN
exited the Lexus and returned to the front passenger seat of the CS’s vehicle. Once
AUSTIN was back in the CS’s vehicle, SPD Fritts heard the CS and AUSTIN talking
about the ecstasy pills. The CS questioned AUSTIN about the white pills and AUSTIN
informed the CS that the white pills were “Motorola’s.”

At approximately 7:46 P.M., AUSTIN exited the CS’s vehicle and returned to the
Lexus. The Lexus drove away with AUSTIN inside. At this time, SPD Officer Fritts
and I followed the CS out of the area and debriefed the CS. The CS turmed over a
clear plastic bag containing several small tablets which appeared to be ecstasy tablets.
A subsequent count of the tablets revealed 938 tablets. SPD Officer Fritts and I again
searched the CS and the CS’s vehicle for contraband and/or money with negative
results.

During the debriefing, the CS stated that a few minutes after arriving in the parking lot
of the T-shirt Shop, AUSTIN exited the CS’s vehicle and entered MOORE’s vehicle.
A few minutes later, AUSTIN re-entered the CS’s vehicle. The CS stated that once .
AUSTIN re-entered the CS’s vehicle, AUSTIN pulled the suspected ecstasy pills cut
of her (AUSTIN’s) purse and gave them to the CS. The CS stated that he/she looked
at the pills and AUSTIN informed him/her that the white pills were “Motorola” pills.
The CS stated that he/she then gave AUSTIN the $4000. The CS stated that he/she
then thanked AUSTIN and AUSTIN exited his/her vehicle. The CS stated that
AUSTIN then entered MOORE’s vehicle and departed the area.

The DEA Western Regional Lab (WRL) later tested the pills purchased from AUSTIN
and MOORE on February 29, 2008. The WRL analysis indicated that six (6) of the
nine-hundred thirty-eight pills purchased from AUSTIN and MOORE contained 3,4-
methylenedioxy-methamphetamine (MDMA otherwise known as Ecstasy). The
remaining pills contained 5-methoxy-N,Ndiisopropyltryptamine (approximately 748
pills), and ketamine (approximately 183 pills).
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Case 2:08-mj-00167-GGH Document1 Filed 05/06/08 Page 10 of 22

March 5, 2008 — Acquisition of Suspected Ecstasy from MOORE

On March 5, 2008, at approximately 4:50 P.M., SPD Officer Fritts and SPD Officer
Mamaril met the CS at a predetermined location in an attempt to obtain the 62 ecstasy
tablets from MOORE that were not present during the meet that took place on
February 29, 2008, between AUSTIN, MOORE, and the CS. Prior to the transaction,
the CS and his/her vehicle were searched for narcotics and contraband with negative
results. The CS was also given a transmitter/recorder which allowed SPD Officers to
record the subsequent conversation and transaction with MOORE.

Earlier in the day, the CS contacted MOORE at 209-594-3424. The CS informed
MOORE that he/she had counted the tablets purchased on February 29", 2008 and
found that the count was 62 tablets short. MOORE informed the CS that he did not
believe the count was short; however, MOORE stated that he did not count the tablets
himself and that his little brother did the count. MOORE informed the CS that he is a
business man and would make the count right.

At approximately 4:55 P.M., the CS made an outgoing call to MOORE at 209-594-
3424. The CS asked MOORE if he would be available to meet the CS in an hour.
MOORE stated that he could not do anything until 6:30 P.M.

At approximately 5:43 P.M., the CS made an outgoing call to MOORE at 209-594-
3424. The CS informed MOORE that he/she would meet MOORE at the same place
where they met last time (West Lane and Hammer Lane, Stockton, CA).

At approximately 6:00 P.M., the CS was followed to the predetermined meet location
and kept in view at all times. Once the CS arrived at the meet location, the CS placed
another call to MOORE informing MOORE that he/she was at the meet location.
MOORE informed the CS that he would be there in 10 minutes.

At approximately 6:28 P.M., a Silver Ford Taurus, CA license #4GVT728, arrived and
parked along the driver’s side of the CS’s vehicle. The CS exited his/her vehicle,
opened the front passenger door of the Taurus, and sat inside the vehicle. During the
meet, MOORE informed the CS that he usually would not do this but he wanted to
make sure he made it right so they could continue doing business. Approximately two
minutes later, the CS exited the Taurus and returned to the CS’s vehicle. MOORE
proceeded to drive out of the parking lot followed by surveillance units.

At this time, SPD Officer Fritts and SPD Officer Mamaril followed the CS out of the
area and debriefed the CS. At this time, the CS tumed over a clear plastic bag
containing 63 small tablets which appeared to be ecstasy tablets. SPD Officer Fritts
and SPD Officer Mamaril again searched the CS and the CS’s vehicle for contraband
and/or money with negative results.

During the debriefing, the CS stated that MOORE arrived in a silver Ford Taurus and
the CS subsequently entered MOORE’s vehicle. The CS stated that as soon as he/she
got into the car, MOORE handed the CS a plastic bag containing the tablets.
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Case 2:08-mj-00167-GGH Document1 Filed 05/06/08 Page 11 of 22

At approximately 6:33 P.M., surveillance units followed MOORE to a triplex located
on Westmora Court, Stockton, CA. Moments later, SPD Sergeant Kissell advised
surveillance units that MOORE was at a door of one of the units, subsequently
identified as 9429 Westmora Court, Stockton, CA. SPD Sergeant Kissell left the area
and did not see if MOORE entered the residence.

On March 6, 2008, at approximately 5:30 A.M., SPD Officer Zwicky drove by
Westmora Court and observed the listed Lexus (#5UPB377) and the listed Taurus
(#4GVT728) still parked in the driveway. At approximately 8:30 A.M., SPD Officer
Fritts drove by the location and noticed the Lexus was no longer present but the
Taurus was still parked in the driveway appearing to be in the same location.

The DEA Western Regional Lab (WRL) later tested the substance obtained from
MOORE on March 5, 2008. The WRL analysis indicated that the sixty-three (63) pills
purchased from MOORE contained 5-methoxy-N,Ndiisopropyltryptamine, a Schedule
I controlled substance,

March 7, 2008 — Purchase of Cocaine base from DIXON

On March 7, 2008, SPD Officer Fritts and I met with the CS in anticipation of making
a controlled purchase of cocaine base from DIXON in Stockton, California. Prior to
the transaction, the CS and his/her vehicle were searched for narcotics and contraband
with negative results. The CS was given a predetermined amount of U.S. currency and
a transmitter/recorder which allowed agents to record the subsequent conversation and
transaction with DIXON. .

Surveillance was established. at 1025 Rosemarie Lane, #17, Stockton, CA. At
approximately 10:37A.M., SPD Officer Mercado observed DIXON standing next to a
1970 Mercury, CA license #2MXE629,

At approximately 10:39 A.M., the CS contacted DIXON at 209-423-7157. DIXON
answered the phone and asked if the CS was out here already, meaning in Stockton,
CA. The CS stated that he/she was. DEXON informed the CS that he had to go by his
Mexican partner to pick up, meaning obtain the cocaine base. Approximately 4
minutes later, SPD Officer Mercado observed DIXON walk into Apt. #17.

The CS received an incoming call from 209-430-0128. The CS did not answer the
phone due to the fact that he/she was not familiar with this telephone number. At
approximately 11:07 A.M., the CS contacted telephone number 209-430-0128.
DIXON informed the CS that this was him (DEXON) and that he was on another
phone. DIXON instructed the CS to meet him near a side street by AUSTIN’s
residence, The CS then asked DIXON if he knew what he/she “wanted.” The CS then
informed DIXON that he/she wanted “two” like last time.

At approximately 11:19 A.M., SPD Officer Fritts and I followed the CS from a neutral
location to a side street near AUSTIN’s residence, 5757 Brush Creek Dr., Stockton,
CA. Once the CS arrived near AUSTIN’s residence, the CS received an incoming call
from DIXON. DLXON informed the CS that he was on his way.
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Case 2:08-mj-00167-GGH Document1 Filed 05/06/08 Page 12 of 22

At approximately 11:50 A.M., SPD Officer Mercado observed a green Chevy Astro
van, CA lic#3XLT430, arrive and park near DIXON’s vehicles. DIXON opened the
passenger side sliding door and both he and an unidentified black male entered the
van. SPD Officer Mercado could see the driver of the vehicle was a Hispanic male,
later positively identified as Oscar MORENO Jr. An unidentified Hispanic male was
also sitting in the front passenger seat of the Astro van. The van proceeded to drive
out of the complex followed by surveillance units.

At approximately 12:00 P.M., surveillance units followed the Chevy Astro van
directly to the meet location. As the van arrived, the van stopped directly next to the
CS’s vehicle. DIXON exited the van and approached the open driver’s side window
of CS’s vehicle. At this time, DIXON and the CS completed the transaction. DIXON
then got back into the Astro van and the van proceeded to drive out of the area
followed by surveillance units. At this time, SPD Officer Fritts and I followed the CS
out of the area and debriefed the CS. At this time, the CS turned over two clear plastic
baggies containing an off-white substance suspected to be cocaine base. SPD Fritts
and I again searched the CS and the CS’s vehicle for contraband and/or money with
negative results.

While debriefing the CS, the CS stated that he/she observed a green van approach
his/her vehicle. The CS stated that he/she observed DIXON exit the van and approach
the driver’s side of the CS’s vehicle. The CS stated that after DIXON approached
his/her vehicle, DIXON provided the CS with the cocaine base. The CS then gave
DIXON the $1300. The CS also stated that DIXON asked him/her if it was all there,
meaning the money. The CS stated that he/she then observed DIXON depart the area

in the green van.

At approximately 12:13 P.M., surveillance units followed the Astro van back to 1025
Rosemarie Lane, Stockton, CA. SPD Officer Mercado observed the van arrive back at
this location and SPD Officer Mercado observed DIXON and the unidentified black
male walk into Apt. #17,

The DEA Western Regional Lab (WRL) later tested the substance purchased from
DIXON on March 7, 2008. The WRL analysis indicated that the substance purchased
from DIXON was cocaine base, 59.6 % purity, with the amount of actual (pure) drug
weighing 30 grams.

May 1, 2008 — Purchase of Cocaine Base from Rafael GALVAN

On 4-24-08, GALVAN called the CS. GALVAN informed the CS that he was
DIXON’s “god brother” and that if the CS needed to purchase cocaine base that the
CS should contact GALVAN directly, On 4-25-08, DIXON called the CS, informed
the CS that DIXON had been “tied up” lately and that if the CS needed cocaine base,
that the CS should contact GALVAN directly.

On 5-1-08, at approximately 2:25 p.m., Agent Ziesman-Hicks and SPD Officer Fritts
met with CS at a predetermined location. Upon meeting with CS, Agent Ziesman-
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Case 2:08-mj-00167-GGH Document1 Filed 05/06/08 Page 13 of 22

Hicks searched CS while SPD Officer Fritts searched CS’s vehicle. Both were found
to be-clear of any illegal substance and/or money.

. At approximately 2:47 p.m., CS placed a recorded call to Rafael GALVAN at cellular

phone number (415)532-5842. Rafael GALVAN answered the call and began
conversing with CS. GALVAN informed CS that he was in the area of Fremont/99
and would be wiiling to meet with CS. CS and GALVAN agreed to meet in the Home
Depot parking lot. GALVAN advised he would be there in 15 minutes.

At approximately 3:05 p.m. Agent Ziesman-Hicks equipped CS with an audio
recording device and prerecorded DEA funds. Agent Ziesman-Hicks and SPD Officer
then escorted CS from the neutral location to the predetermined meet location.

. At approximately 3:14 p.m., CS arrived at the predetermined meet location. Upon

CS’s arrival, CS called GALVAN to inform him of CS’s arrival. During the
conversation, GALVAN requested CS to park near the “Taco Wagon” located in the
parking lot.

At approximately 3:24 p.m., SPD Officer Fritts observed GALVAN arrive in the
Home Depot parking lot driving the listed Black 2008 Infiniti. As GALVAN drove
south bound through the lot SPD Officer Fritts was able to clearly see him through the
driver’s door window.

At approximately 3:26 p.m., GALVAN parked near CS’s vehicle. Agent Ziesman-
Hicks and SPD Officer Fritts watched GALVAN exit his vehicle and walk over to
CS’s vehicle. GALVAN entered CS’s vehicle via the front passenger door. SPD
Officer Fritts checked the listed Infiniti and could see a second Hispanic male 20-
22years old wearing a white T-shirt sitting in the front passenger seat.

At approximately 3:27 p.m., while monitoring the wire, we could hear CS counting
money. CS’s and GALVAN proceed to talk about making more purchases.

At approximately 3:29 p.m., GALVAN exited CS’s vehicle and returned to his
vehicle. Once GALVAN got back into his vehicle, he drove away, followed by
surveillance units.

At approximately 3:30 p.m., Agent Ziesman-Hicks received a phone call from CS
advising CS purchased the requested (3) ounces of rock cocaine from GALVAN.

. At approximately 3:31 p.m., Agent Ziesman-Hicks and SPD Officer Fritts escorted CS

out of the area. We escorted CS to a predetermined location. CS was kept in view at
all times. At no time did CS meet with another subject.

At approximately 3:36 p.m., Agent Ziesman-Hicks and SPD Officer Fritts arrived at
the predetermined neutral location. Upon meeting with CS, CS tumed over a knotted,
clear plastic sandwich bag containing a large amount of suspected cocaine base. The
substance was consistent with cocaine base and omitted an odor consistent with
cocaine.
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Case 2:08-mj-00167-GGH Document1 Filed 05/06/08 Page 14 of 22

. Agent Ziesman-Hicks searched CS while SPD Officer Fritts searched CS’s vehicle.

Both were clear of any illegal substance and/or money.

. The substance seized from the CS weighed approximately 109 gross grams, including

packaging and field-tested positive for cocaine.

Information about 1025 Rosemarie Ln. #17, Stockton, California

An administrative subpoena to PG & E for subscriber information for 1025
Rosemarie Ln. #17, Stockton, California, revealed that Rachel Peart
STALLWORTH is the listed subscriber since 2004.

Information about 9429 Westmora Ct., Stockton, California

An administrative subpoena to PG & E for subscriber information for 9429 Westmora
Ct., Stockton, California, revealed that Casey METTNER is the listed subscriber
since 2003.

AUSTIN’s Criminal History

Inquiries with the California Department of Justice (DOJ) revealed that AUSTIN has a
criminal record, AUSTIN’s criminal convictions includes misdemeanor PC § 242-
Battery; WI § 10980 (C)(2)-Fraud/Aid; and WI § 10980 (G)(2)-Food Stamp.

DIXONS’s Criminal History

Inquiries with the California Department of Justice (DOJ) revealed that DIXON has a
criminal record. DIXON’s criminal convictions includes a felony conviction for HS
11351.5-Possession/purchase cocaine base for sale; misdemeanor PC § 148-
Obstruct/Resist Public Officer; misdemeanor conviction VC § 14601.1 (A)- Drive

. while license suspended; and misdemeanor conviction PC § 148.9 (A)- False ID to

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Specific Peace Officers.

MOORE’s Criminal History

Inquiries with the California Department of Justice (DOJ) revealed that MOORE has a
criminal record. MOORE’s criminal convictions include: misdemeanor VC §
20002(A)- Hit and Run; and misdemeanor PC § 243 (E)- Battery on non-cohabitant
Former Spouse.

GALVAN’S Criminal History

Inquiries with the California Department of Justive revealed that GALVAN has a
criminal record. GALVAN’s criminal convictions include: felony conviction HS

11350 (A) —Possession of a narcotic controlled substance; felony conviction HS
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Case 2:08-mj-00167-GGH Document1 Filed 05/06/08 Page 15 of 22

11351- Possession/Purchase for sale narcotic/controlled substance; felony conviction
HS 11378—-Possession of controlled substance for sale.

Probable Cause Statement for Criminal Complaints and Arrest Warrants

The information in this Affidavit is based upon my personal observations, the
observations of other agents and officers associated with this investigation, the
observations and statements of cooperating sources, and my review of official police
and investigative reports. I have not included each and every fact known to me.
Instead, I have included only those sufficient to demonstrate probable cause in support
of the requested criminal complaints and search warrants.

As a result of the events described in this Affidavit, there is probable cause to believe
that Shatoya AUSTIN, conspired to distribute and distributed at least 5 grams of
cocaine base on or about January 15, 2008 and January 30, 2008, in violation of 21
U.S.C. § 841(a)(1) and 846; and conspired to distribute and distributed 3,4-
methylenediox y-methamphetamine (MDMA otherwise known as Ecstasy), 5-
methoxy-N,Ndiisopropyltryptamine, and ketamine, on or about February 29, 2008 in
violation of 21 U.S.C. § 841(a)(1) and 846.

As a result of the events described in this Affidavit, there is probable cause to believe
that Ralph DIXON, conspired to distribute and distributed at least 5 grams of cocaine
base on three separate occasions on or about January 15, 2008, January 30, 2008, and
March 7, 2008, in violation of 21 U.S.C. § 841(a)(1)} and 846.

As a result of the events described in this Affidavit, there is probable cause to believe
that Donald MOORE, conspired to distribute and distributed 3,4-methylenedioxy-
methamphetamine (MDMA otherwise known as Ecstasy), 5-methoxy-
N,Ndiisopropyltryptamine, and ketamine, on or about February 29, 2008, and of 5-
methoxy-N,Ndiisopropyltryptamine on or about March 5, 2008, in violation of 21
U.S.C. § 841(a)(1) and 846.

As a result of the events, described in this Affidavit, there is probable cause to
believe that Rafael GALVAN, concpired to distribute and distributed at least 5 grams
of cocaine base on or about Mayl1, 2008, in violation of 21 U.S.C. 841{a}(1) and 846.

Therefore, your affiant respectfully requests that this Court issue criminal complaints
and arrest warrants against Shatoya AUSTIN, Ralph DIXON, Donald MOORE,
Rafael GALVAN for the violations listed above.

Probable Cause Statement for Search Warrants
Based upon my training and experience, I have learned the following:
a. As aresult of my experience and training, I have learned that traffickers
who deal in various quantities of controlled substances, or those that assist in that ~

venture, maintain and tend to retain accounts or records of those transactions.
Such records detail amounts outstanding, owed, or expended, along with records
Case 2:08-mj-00167-GGH Document1 Filed 05/06/08 Page 16 of 22

tending to indicate the identity of co-conspirators. These records may be kept on
paper or contained in memory calculators or computers. It is also my experience
that these traffickers tend to keep these accounts and records in their residence
and in the areas under their control. It is my training and experience, that in the
case of drug dealers, evidence is likely to be found where the dealers live. It is
also my training and experience that where criminal activity is long-term or
ongoing, equipment and records of the crime will be kept for some period of time.

b. Based upon my experience and training, I have learned that drug traffickers often
place their assets in names other than their own to avoid detection of those assets
by law enforcement and the Internal Revenue Service (IRS); that those persons
are commonly family members, friends, and associates who accept title of assets
to avoid discovery and detection; that traffickers also often place assets in the
ownership of corporate entities to avoid detection by law enforcement agencies
and although these assets are in other individual(s) or corporate names, the
traffickers continue to use these assets and exercise dominion and control over
them. Typically, traffickers keep records of those registrations and transactions in
their residences.

c. I have learned that large-scale drug traffickers often have on-hand large amounts
of United States currency in order to maintain and finance their ongoing business.
I have also learned that drug traffickers often keep large sums of currency, caches
of drugs, financial instruments, precious metals, jewelry, automobiles and other
items of value and/or proceeds of drug transactions, including evidence of
financial transactions related to obtaining, transferring, secreting or spending
large sums of money acquired from engaging in the acquisition and distribution of
controlled substances in their residences or in the areas under their control.

d. Ihave learned that traffickers commonly have in their possession, that is on their
person, in their vehicles, at their residences, and in the areas under their control,
firearms, including but not limited to handguns, pistols, revolvers, rifles,
shotguns, machine guns and other weapons. Such firearms are used to protect and
secure a trafficker’s property which may include, but is not limited to, narcotics
and other dangerous drugs, jewelry, narcotic paraphernalia, books, records,
ledgers and quantities of currency.

e. Ihave learned that traffickers commonly have in their possession, that is on their
person, at their residences, and their vehicles, and in the areas under their control
and which they have free and ready access to, narcotics, which they intend to
distribute. It is my experience that these drug traffickers commonly utilize these
areas (vehicles, residences, properties, etc.) as locations to conceal their narcotics
from law enforcement.

f. Thave learned that drug traffickers may take or cause to be taken,
photographs or videotapes of themselves, their criminal associates, their property,
and their product. Such traffickers often maintain photographs and/or videotapes
at their residence or in the areas under their control.
Case 2:08-mj-00167-GGH Document1 Filed 05/06/08 Page 17 of 22

g. Ihave learned that large scale traffickers often maintain in their possession
and at their residence fictitious identification, including but not limited to, driver's
licenses, employment cards, insurance cards, social security cards, certificates of
birth and passports which are obtained by the traffickers and utilized in an effort
to prevent law enforcement identification of the traffickers and their drug
trafficking activities.

h. In my experience, drug traffickers often utilize vehicles in which to
transport and distribute controlled substances. I have also learned that traffickers
will also utilize vehicles as locations in which to store controlled substances prior
to distribution. During prior investigations, I have observed that drug traffickers
will often utilize vehicles registered in the names of individuals other then
themselves in an effort to avoid detection by law enforcement.

i. In my experience, drug traffickers often utilize telephones, cellular telephones,
electronic pagers, beepers, e-mail devices, text messaging, and voice mail and/or
answering machines to conduct their business.

j. In addition, I have also learned that these traffickers tend to attempt to

legitimize their assets by establishing domestic and foreign businesses, by
creating shell corporations, by utilizing bank haven countries and attorneys
specializing in drafting and establishing such entities employed to "launder" the
proceeds derived from the distribution of controlled substances. In establishing
these entities, the traffickers often must travel to meetings in foreign countries as
well as domestically. As a result of that travel, records are generated reflecting
travel by commercial and private aircraft, Commercial Ocean and private vessels
as well as common carrier(s).

k. It is my opinion, based on my training and experience, and the training and
experience of other law enforcement investigators to whom I have spoken, that
the items listed in Attachment B are items most often associated with the.
distribution of controlled substances as well as the proceeds from such illegal
operations.

100. In this case, the facts set forth in this Affidavit demonstrate probable cause to
believe that evidence of Ralph DIXON’s cocaine base distribution and conspiracy to
distribute cocaine base, including contraband, fruits of the crimes, and other items
illegally possessed, property designed for use, intended for use, or used in committing
a cnme, is located at 1025 Rosemarie Ln. #17, Stockton, California, further
described in Attachment A-1, incorporated herein, the person of Ralph DIXON, and
one silver-colored 2000 Chevrolet Cavalier, CA license #4KAX727; and one
yellow 1970 Mercury Cougar, CA license plate # 2MXE629.

101. In this case, the facts set forth in this Affidavit demonstrate probable cause to
believe that evidence of Donald MOORE?’s 3,4-methylenedioxy-methamphetamine
(MDMA otherwise known as Ecstasy) distribution and conspiracy to distribute 3,4-
methylenedioxy-methamphetamine, including contraband, fruits of the crimes, and
other items illegally possessed, property designed for use, intended for use, or used in
Case 2:08-mj-00167-GGH Document1 Filed 05/06/08 Page 18 of 22

committing a crime, is located at 9429 Westmora Ct., Stockton, California, further
described in Attachment A-2, incorporated herein, the person of Donald MOORE,
and one silver-colored 1998 Lexus, CA license #45UPB377; and one silver 2000
Ford Taurus, CA license #4GVT728.

102.  Ibelieve there is probable cause that at these locations and on these premises will
be found evidence, instrumentalities, and the fruits of violations of Title 21, United

States Code, Section 841(a)(1), to wit, conspiracy to distribute and distribution of
controlled substances.

103. ‘It is my belief that those items listed on Attachment B, fully incorporated into this
affidavit by reference, may be found at the premises to be searched, as also described
in Attachments A-1 and A-2, fully incorporated herein by reference. I base this belief
on the information set forth herein, my training and experience, and the experience of
the law enforcement officers with whom I have consulted.

I swear under the penalty of perjury that the foregoing information is true and correct to
the best of my knowledge information and belief.

PB wcttomy Gleb
Brittany E. Ziesman-Hichs, Special Agen oe

-OK
Drug Enforcement Administration 2-0&

Sworn to and subscribed before
me this DQ. ay of May 2008.

GREGO . HOLLOWS
GREGORY G. HOLLOWS
UNITED STATES MAGISTRATE JUDGE

Heiko P. Céppold
Assistant U.S. Attorney
Case 2:08-mj-00167-GGH Document1 Filed 05/06/08 Page 19 of 22

ATTACHMENT A-1: LOCATIONS TO BE SEARCHED

1. 1025 Rosemarie Lane, Apartment #17, Stockton, California, further described as an
apartment located within a two-story multi structure complex. Each structure is designated
by a corresponding letter with each apartment within that structure being designated a
number. The complex is brown with white trim. The address for the complex is located on a
large rectangular metal placard with the name “Pacific Pointe" that is affixed to a large
concrete fixture. Apartment #I7 is located in the Northeast corner of the complex in structure
"I", Structure "I" consists of two separate buildings with a stair well/landing connecting the
two buildings. Apartment #17 is located in the western building that contains apartments #I5-
8 with two apartments on the first floor and two apartments on the second floor. Apartment
#17 is located on the first floor on the southern half of the building. The front door to
Apartment #17 is white, compared to the other three doors which are all gréen.

2. The person of Ralph DIXON, black male adult, date of birth 7-20-1977, 5°11” tall,
approximately 160 pounds, brown eyes, brown hair, California drivers license number
B6393042,

3. A silver-colored Chevrolet Cavalier, bearing license plate #4KAX727, and a yellow
Mercury Cougar, bearing license plate #2MXE629.
Case 2:08-mj-00167-GGH Document1 Filed 05/06/08 Page 20 of 22

ATTACHMENT A-2: LOCATIONS TO BE SEARCHED

1. 9429 Westmora Court, Stockton, California, further described as a residence contained
within a single story tri-plex. The tri-plex consists of (9429), (9431) and (9433). The tri-
plex is constructed of wood and stucco which is tan with green trim. 9429 is located at the
southwest corner of the tri-plex with the front door to the residence facing east. The numbers
9429 are tan and attached to the front door of the residence, as well as along the southwest
comer of the detached garage.

2. The person of Donald MOORE, black male adult, date of birth 6-17-1977, 5’7” tall,
approximately 170 pounds, brown eyes, black hair, California drivers license number
B6026950.

3. Asilver Lexus, bearing license plate #5UPB377, and a silver Ford Taurus, bearing license
plate #44GVT728.
Case 2:08-mj-00167-GGH Document1 Filed 05/06/08 Page 21 of 22

ATTACHMENT B

ITEMS TO BE SEIZED:

1. Items associated with the processing of controlled substances for transportation and
distribution, such as measuring instruments and scales, compression devices, glass or plastic
bags and packaging material;

2. Paraphernalia commonly associated with the manufacture and packaging for sale or the
transportation of controlled substances, to include cutting agents and dilutents, chemical testing
devices, packaging materials or plastic bags and paper bindles, triple beam scales and other
weighing devices, measuring devices, detached mirrors, sieves, strainers, boxes, chests, coolers;

3. Indicia of possession of the place to be searched, including articles of personal property, such
as personal identification, personal correspondence, delivery pouches, diaries, checkbooks, bank
account records, addressed envelopes, vehicle registrations, exposed film, notes, photographs,
keys, utility bills, receipts, personal telephone and address books, and video tapes, tending to
establish the identity of the person or persons in control of the areas to be searched;

4, Items and documents tending to identify the location where controlled substances and other
evidence of narcotics trafficking may be found, to include records and keys for vehicles, storage
facilities, residences, businesses, post office boxes, and safety deposit boxes;

5. Firearms and ammunition;

6. Documents related to the use of domestic and/or international shipment services which may
have been used to ship controlled substances or to conceal the shipment of controlled substances
or currency;

7, Documents related to the purchase and rental of vehicles which may have been used to
transport controlled substances;

8. Documents related to controlled substance transactions, including personal calendars, address
and/or telephone books, rolodex indices and papers reflecting names, addresses, telephone
numbers, pager numbers, e-mail address, fax numbers and/or telex numbers, pay-owe sheets,
correspondences of the subjects of the investigation and their criminal associates, sources of
supply, customers, financial institutions, and other individuals or businesses with whom a
financial or criminal association exists;

9. Electronic communication devices including telephones, paging devices, PDA's (personal _
data assistants), palm pilots, text messaging devices, together with the information stored therein
which may identify co-conspirators, instructions, receipts for these items;

10. Photographs, negatives, video tapes, films, undeveloped film and the contents therein, and
slides depicting the subjects of the investigation and their criminal associates, their assets and/or
controlled substances;

11, Tickets, itineraries, receipts, reservation confirmations, maps and other items relating to
domestic and international travel or co-conspirators;

12. Items used in the packaging of currency for consolidation and transportation, such as large
quantities of rubber bands, currency wrappers or bands, duct or wrapping tape, and plastic
sealing machines;
Case 2:08-mj-00167-GGH Document1 Filed 05/06/08 Page 22 of 22

13. Items and documents tending to establish the purchase and sale of controlled
substances, to include buyer's lists, seller's lists, ledgers of transactions, codes, pay-owe
sheets, any of these items stored in electronic mediums, (e.g. computers, floppy discs,
memory calculators), telephonic pagers and cellular telephones, telephone billing records,
credit card statements, wire transfer records, travel documents, telephone/address books,
calendars containing notations, diaries and photographs and videos of controlled
substances, currency locations, or associates;

14. The following items evidencing the obtaining, secreting, transfer, and/or
concealment of assets and the obtaining, secreting, transfer, concealment and/or
expenditure of money: books, records, invoices, receipts, records of real estate or
securities transactions, bank statements and related records, passbooks, money drafts,
letters of credit, money orders, bank drafts, cashier's checks, bank checks, checkbooks,
tax returns, loan statements, work papers, escrow files, Forms 1099, wire transfer
records;

15. Items tending to establish substantial income from narcotics trafficking, to include
currency in excess of $1,000, money orders, cashier's checks, certified checks, travelers
checks, bonds, stock certificates, vehicles, gold, silver, jewels, electronic equipment,
negotiable securities, certificates of deposit, documents evidencing the purchase of
expensive (in excess “of $2 ,000) assets, real property, bank statements, canceled checks,
credit card statements, state and F ederal income tax returns, business records, which
includes general ledgers, general journals, cash receipts and disbursement journals, sales
journals or other books of account, records and keys for safety deposit boxes, receipts,
and other items evidencing the obtaining, secreting transfer, concealment and
expenditures of large sums of currency;

16. Items tending to establish evidence of money laundering activity to include records
of currency transactions, foreign and domestic, such as wire transfers, cashier's checks
and money orders, bank drafts, and published reference material on the subject of money
laundering

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